                         Case 4:23-cr-00197-LPR                  Document 38             Filed 12/18/24           Page 1 of 7
AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I
                                                                                                                                    hi1..      KANSAS

                                          UNITED STATES DISTRICT CouRT y:TAM- ffe_ c 1_ s
                                                             Eastern District of Arkansas                     8         ~0
                                                                           )
               UNITED STATES OF AMERICA                                    )
                                  V.                                       )
                         JOSH BRITTON                                      )
                                                                           )      Case Number: 4:23-CR-00197-01 LPR
                                                                           )      USM Number: 72072-510
                                                                           )
                                                                           )       Amanda Simmons (appointed)
                                                                           )      Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)         2 of the Indictment
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended                   Count
18 U.S.C. § 922(0)                Possession of a Machinegun, a Class C Felony                              10/25/2022               2




       The defendant is sentenced as provided in pages 2 through          _ _7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

Ill Count(s)      1 of the Indictment                              Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                         12/17/2024
                                                                         Date oflmposition of Judgment



                                                                        ~v:----------
                                                                                     Lee P. Rudofsky, United States District Judge
                                                                         Name and Title of Judge




                                                                         Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                   Judgment -   Page   _2__ of   7
 DEFENDANT: JOSH BRITTON
 CASE NUMBER: 4:23-CR-00197-01 LPR

                                                          IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

 ONE HUNDRED TWENTY (120) MONTHS




      ~ The court makes the following recommendations to the Bureau of Prisons:
        IF DEFENDANT IS ELIGIBLE AND IF APPROPRIATE FOR DEFENDANT, the Court recommends that defendant be
        incarcerated at FCI Forrest City or FCI Memphis; and that defendant participate in residential or non-residential
        substance abuse treatment, the Court strongly recommends mental health counseling, and educational and vocational
        programs during incarceration.

      !ill The defendant is remanded to the custody of the United States Marshal.
      D The defendant shall surrender to the United States Marshal for this district:
          D at _ _ _ _ _ _ _ _ _ D a.m.                     D p.m.       on

          D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                        to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                        By----------------------
                                                                                             DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                       Judgment-Page _____ of
DEFENDANT: JOSH BRITTON
CASE NUMBER: 4:23-CR-00197-01 LPR
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 THREE (3) YEARS




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.    D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.    i;1 You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    D You must participate in an approved program for domestic violence. (check !f applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                                 Judgment-Page
DEFENDANT: JOSH BRITTON
CASE NUMBER: 4:23-CR-00197-01 LPR

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware ofa change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least I 0
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the pennission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.    You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nuii~hakus or tasers).
I I.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy:ofthis
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                      Date - - - - - - - - - - - -
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D- Supervised Release
                                                                                            Judgment-Page   _5_ of         7
DEFENDANT: JOSH BRITTON
CASE NUMBER: 4:23-CR-00197-01 LPR

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. Defendant must participate in a mental health treatment program under the guidance and supervision of the probation
 office with an emphasis in anger management, if the probation office deems it necessary. The defendant must pay for the
 cost of treatment at the rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as
 determined by the probation office. If defendant is financially unable to pay for the cost of treatment, the co-pay ·
 requirement will be waived.

2. Defendant must participate in a substance abuse treatment program under the guidance and supervision of the of the
probation office. The program may include drug and alcohol testing, outpatient counseling, and residential treatment.
Further, defendant must abstain from the use of alcohol during treatment and supervision. The defendant must pay for the
cost of treatment at the rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as
determined by the probation office. In the event the defendant is financially unable to pay for the cost of the treatment, the
co-pay requirement will be waived.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                     Judgment -    Page __6~_   of        7
 DEFENDANT: JOSH BRITTON
 CASE NUMBER: 4:23-CR-00197-01 LPR
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment               Restitution             Fine                  AV AA Assessment*            JVTA Assessment**
TOTALS            $ 100.00                  $                      $                      $                            $



 D The determination of restitution is deferred until - - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned J?ayment, unless specified otherwise in
     the priority or~er or perc~ntage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the Umted States 1s paid.

 Name of Payee                                                 Total Loss***              Restitution Ordered          Priority or Percentage




TOTALS                               $ ______0._00_                            $_ _ _ _ _ _0_.0_0_


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the             D fine    D restitution.
      D the interest requirement for the            D fine      D restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters I 09 A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                                           7_ of
                                                                                                         Judgment - Page _ _                7
 DEFENDANT: JOSH BRITTON
 CASE NUMBER: 4:23-CR-00197-01 LPR

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     !l'.i   Lump sum payment of$         100.00
                                         ~~~~---
                                                              due immediately, balance due

              D    not later than                                 , or
              D    in accordance with    D C,       D    D,   D    E,or     D F below; or
B     D       Payment to begin immediately (may be combined with          □ c,      D D, or     D F below); or
C     D       Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                            (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

D     D       Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                            (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

E     D       Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D       Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                               Joint and Several             Corr~sponding_ Payee,
      (including defendant number)                        Total Amount                    Amount                       1f appropnate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecut10n and court costs.                                                                                                    ..
